                                    Case 1:13-cv-00451-CFL Document 8 Filed 07/03/13 Page 1 of 2


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                                                                          Nos. l3-406C, 13-410C, l3-438C, 13-448C,
                                                                      t3-449C, 13-450C, 13-451C, 13-452C, 13-453C

                                                                                            (Filed: July 3,2013)
                                                                                         (NOT TO BE PUBLISHED)
                                                                                                                          FILED
    **      **     ** * ** * *** *** *'*:t*t                                    :*++ *+,1   *1,+****
                                                                                                                         JUL,   - 3 2013
    CANDACE WILLRICH,                                                                                                   U.S. COURT OF
                                                                                                                       FEDERAL CLAIMS
                                                                      Plaintiff,



    UNITED STATES,

                                                                      Defendant.

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                                                                                              OPINION AND ORDER

LETTOW, Judge.

        Plaintiff, Candace Willrich, has filed nine complaints requesting monetary relief from the
government in various amounts ranging as high as $ 100 billion for alleged assaults upon her
person and character, in addition to other alleged inflicted injuries. Plaintiffhas requested leave
to proceed inJbrma pauperis in each ofthese docketed cases, representing to the court that she is
cunently unemployed, and that her cash assets are minimal, totaling significantly less than
$   10,000.

                                                                                                 BACKGROUND'
         Ms. Willrich alleges in these nine cases a variety ofassaults upon her person, theft ofher
intellectual property, intentional misrepresentations to Ms. Willrich, defamation of her character,
and disparagement of the reputation ofher business. See, e.g., Compl., Case No. l3-438C
(entitled "Complaint for Attempted Murder on the Moming of June 25, 2013"); Compl., Case
No. 13-410C (entitled "Complaint for Attempt to Stroke a Mathematician's Brain"). These
injuries have allegedly been inflicted upon Ms. Willrich by multiple persons, including but not
limited to President Obama, Attomey General Eric Holder, the United States Secret Service, and


       'This statement of the circumstances relating to Ms. Willrich's claim is taken from her
submissions and does not include any findinss of fact.
           Case 1:13-cv-00451-CFL Document 8 Filed 07/03/13 Page 2 of 2




Ms. Malia Obama. Mot. for Order to Seal Ct. Records, Case No. 13-406C at Jfl 10, 16; Compl.,
Case No. l3-410C, Ex. I at 5

        On June 17,2013, Ms.  Willrich filed her first case in this court, docketed as No. l3-
406C. She filed the case docketed as No. l3-410C on June 10, 2013, and another docketed as
Case No. l3-438C on June 28, 2013. The remaining six cases were filed in this court on July l,
2013.

                                  ANALYSIS
                         A. Applications   to Proceed InFonma Pauperis

        Contemporaneously with filing each complaint, Ms. Willrich submitted a motion for
leave to proceed informa pauperls. These applications are appropriately supported, and thus, for
good cause shown, Ms. Willrich's applications to proceed informa paupens are GRANTED.

                                         B. Jurisdiction
         The court may address jurisdiction sua.qponte even ifjurisdiction is not challenged by an
opposing party. "[A] 'court must satisfy itselfthat it hasjurisdiction to hear and decide a case
before proceeding to the merits."' Hardie v. United states,367 F.3d l29g, 1290 (Fed. cir. 2004)
(quoting PIN/NIP, Inc. v. Platte Chem. Co.,304 F.3d 1235, 1241 (Fed. Cir. 2002) (citing View
Eng'g, Inc. v. Robotic Vision Sys., Inc., 115 F .3d 962,963 (Fed. Cir. 1997))). Under the Tucker
Act, this court has subject matter jurisdiction over claims founded "upon the Constitution, or any
Act of Congress or any regulation ofan executive department, or upon any express or implied
contract with the United States, or for liquidated or unliquidated damages in cases not sounding
in tort." 28 U.S.C. $ 1491(a)(1) (emphasis added). Because Ms. Willrich,s complaints
exclusively allege torts and do not draw upon any money-mandating statute, regulation or
contract, the court does not possess subject matter jurisdiction over her claims. Accordingly, the
court must dismiss Ms. Willrich's claims for lack ofjurisdiction under Rule 12(b)(1) of the Rules
of the Court of Federal Claims ("RCFC").

                                     CONCLUSION
         The plaintiff s nine docketed cases zue DISMISSED lor lack of subject matter
jurisdiction pursuant to RCFC l2(b)(1) because each allegation contained in these complaints
 sounds in tort. The clerk shall enter judgment in accord with this decision.


        No costs.


        It is so ORDERED.

                                                    Charles F. Lettow
                                                    Judge
